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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

                                                                    ORDER
               v.                                                11-CR-121A

RONALD CARTER,

                                   Defendant.


               The above-referenced case was referred to Magistrate Judge H. Kenneth

Schroeder, Jr., pursuant to 28 U.S.C. § 636(b)(1)(B). On March 16, 2012, defendant

Ronald Carter filed a motion to suppress. On September 11, 2012, Magistrate Judge

Schroeder filed a Report and Recommendation, recommending that deFendant's

motion to suppress be denied.

               The Court has carefully reviewed the Report and Recommendation, the

record in this case, and the pleadings and materials submitted by the parties, and no

objections having been timely filed, it is hereby

               ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons

set forth in Magistrate Judge Schroeder’s Report and Recommendation, defendant

Ronald Carter's motion to suppress is denied.

               The case is referred back to Magistrate Judge Schroeder for further

proceedings.
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     SO ORDERED.


                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  UNITED STATES DISTRICT JUDGE

DATED: October 3, 2012
